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                 UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re: TIMOTHY DOUGLAS HAYES,                  :      Chapter 7
           Debtor                              :      Case No. 16-11983REF

315 BOWERY HOLDINGS, LLC, and
CBGB FESTIVAL, LLC
         Plaintiffs
             V.                                       Adv. No. 16-186
TIMOTHY DOUGLAS HAYES,
         Defendant

                                     ORDER
             AND NOW, this 23 day of December, 2016, upon my consideration
of the Order I entered today in the main bankruptcy case. No. 16-11983REF,
granting the motion filed by Plaintiffs, CBGB Festival, LLC, and 315 Bowery
Holdings, LLC, requesting relief from the automatic stay to permit the action
currently pending in the New York state court, captioned SW Productions. Inc. v.
CBGB Festival. LLC et al.. No. 652990/2014 (Sup. Ct. N.Y. County 2014) (the
New York action) to proceed to judgment against Defendant/Debtor, Timothy
Douglas Hayes,

              AND UPON MY FINDING AND CONCLUSION that the interests
of Justice, comity, and respect for state law dictate that I stay all proceedings in this
adversary proceeding pending a final determination and judgment in the New York
action, at which time the parties shall retum to this court to resume litigation of this
adversary proceeding,

             IT IS HEREBY ORDERED that all proceedings in this adversary
proceeding are STAYED pending a final determination and judgment in the New
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York action, at which time the stay imposed by this Order shall automatically be
terminated and all proceedings in this adversary proceeding shall resume.

             IT IS FURTHER ORDERED that Plaintiffs' Motion To Compel the
Deposition of Non-Party Stuart Weissman is HEREBY DENIED as not ripe for
disposition in light of (1) the Order in the main bankruptcy case granting relief
from the automatic stay to permit the New York action to proceed to judgment
against Defendant/Debtor and (2) the decision in this Order staying all proceedings
in this adversary proceeding until a final determination and judgment are made in
the New York action.

             IT IS FURTHER ORDERED that the parties shall file a Joint Status
Report on March 1,2017, and on the first day of every other month thereafter,
in which they outline the status of the New York action.

                                       BY THE COURT
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                                       RICHARD E. FEHLING
                                       United States Bankruptcy Judge
